    Case 21-03003-sgj Doc 19 Filed 04/11/21            Entered 04/11/21 23:23:51         Page 1 of 6




The following constitutes the ruling of the court and has the force and effect therein described.




Signed April 9, 2021
______________________________________________________________________




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

     In re:                             §                                 Case No. 19-34054-SGJ-11
                                        §
     HIGHLAND CAPITAL MANAGEMENT, L.P., §                                 Chapter 11
                                        §
         Debtor.                        §
                                        §
     HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                        §
         Plaintiff,                     §
                                        §
     v.                                 §
                                        §                                 Adversary No.: 21-03003
     JAMES D. DONDERO,                  §
                                        §
         Defendant.                     §

                                  AMENDED SCHEDULING ORDER

              Plaintiff Highland Capital Management, L.P. (“Plaintiff”) and Defendant James Dondero

     (“Defendant”, and together with the Plaintiff, the “Parties”), in accordance with the Court’s ruling

     on Defendant James Dondero’s Emergency Motion to Continue Docket Call and Trial and/or

     Amend Scheduling Order [Adv. Dkt. 8], hereby submit this Amended Scheduling Order (the




     AMENDED SCHEDULING ORDER                                                                      Page 1
Case 21-03003-sgj Doc 19 Filed 04/11/21           Entered 04/11/21 23:23:51       Page 2 of 6



 “Scheduling Order”) that supersedes and replaces the Court’s Alternative Scheduling Order [Adv.

 Dkt. 3] (the “Alternative Scheduling Order”) entered in the above-captioned adversary proceeding

 (the “Adversary Proceeding”) on January 25, 2021.

          1.    The Parties shall abide by the following pretrial schedule (the “Joint Pretrial

 Schedule”) in lieu of that provided in the Alternative Scheduling Order:

  Event                                            Deadline

  Deadline for service of Rule 7026(a)(1) initial April 15, 2021
  disclosures

  Deadline for service of written discovery April 28, 2021
  requests

  Deadline for service of expert disclosures       May 21, 2021

  Deadline for the completion of fact discovery    May 28, 2021

  Deadline to file dispositive motions             June 7, 2021

  Deadline for completion of expert discovery      June 7, 2021

  Deadline to file trial witness and exhibit lists June 28, 2021
  and to exchange trial exhibits

  Deadline for Parties to file written proposed July 2, 2021
  findings of fact and conclusions of law and to
  file any trial briefs addressing contested issues
  of law

  Deadline for Parties to upload Joint Pretrial July 2, 2021
  Order

  Trial Docket Call                                July 12, 2021 at 1:30 p.m.

  Week of Trial                                    July 19, 2021




 AMENDED SCHEDULING ORDER                                                                  Page 2
Case 21-03003-sgj Doc 19 Filed 04/11/21            Entered 04/11/21 23:23:51          Page 3 of 6



            2.   The Joint Pretrial Schedule set forth in this Scheduling Order shall only be modified

 in a writing signed by the Parties or upon entry of an order of the Court entered upon notice to the

 Parties.

                                     ### END OF ORDER ###



 AGREED AS TO FORM AND SUBSTANCE:

 Dated: April 7, 2021                          /s/ Bryan C. Assink
                                               D. Michael Lynn
                                               State Bar I.D. No. 12736500
                                               John Y. Bonds, III
                                               State Bar I.D. No. 02589100
                                               John T. Wilson, IV
                                               State Bar I.D. No. 24033344
                                               Bryan C. Assink
                                               State Bar I.D. No. 24089009
                                               BONDS ELLIS EPPICH SCHAFER JONES LLP
                                               420 Throckmorton Street, Suite 1000
                                               Fort Worth, Texas 76102
                                               (817) 405-6900 telephone
                                               (817) 405-6902 facsimile
                                               Email: michael.lynn@bondsellis.com
                                               Email: john@bondsellis.com
                                               Email: john.wilson@bondsellis.com
                                               Email: bryan.assink@bondsellis.com

                                               ATTORNEYS FOR DEFENDANT JAMES DONDERO

                                               -AND-




 AMENDED SCHEDULING ORDER                                                                      Page 3
Case 21-03003-sgj Doc 19 Filed 04/11/21   Entered 04/11/21 23:23:51     Page 4 of 6



                                      PACHULSKI STANG ZIEHL & JONES LLP
                                      Jeffrey N. Pomerantz (CA Bar No. 143717)
                                      Ira D. Kharasch (CA Bar No. 109084)
                                      John A. Morris (NY Bar No. 266326)
                                      Gregory V. Demo (NY Bar No. 5371992)
                                      Hayley R. Winograd (NY Bar No. 5612569)
                                      10100 Santa Monica Blvd., 13th Floor
                                      Los Angeles, CA 90067
                                      Telephone: (310) 277-6910
                                      Facsimile: (310) 201-0760
                                      Email: jpomerantz@pszjlaw.com
                                      ikharasch@pszjlaw.com
                                      jmorris@pszjlaw.com
                                      gdemo@pszjlaw.com
                                      hwinograd@pszjlaw.com

                                      -and-

                                      HAYWARD PLLC

                                      /s/ Zachery Z. Annable
                                      Melissa S. Hayward
                                      Texas Bar No. 24044908
                                      MHayward@HaywardFirm.com
                                      Zachery Z. Annable
                                      Texas Bar No. 24053075
                                      ZAnnable@HaywardFirm.com
                                      10501 N. Central Expy, Ste. 106
                                      Dallas, Texas 75231
                                      Tel: (972) 755-7100
                                      Fax: (972) 755-7110

                                      Counsel for Highland Capital Management, L.P.




 AMENDED SCHEDULING ORDER                                                       Page 4
            Case 21-03003-sgj Doc 19 Filed 04/11/21                                   Entered 04/11/21 23:23:51                        Page 5 of 6
                                                               United States Bankruptcy Court
                                                                 Northern District of Texas
Highland Capital Management, L.P.,
      Plaintiff                                                                                                         Adv. Proc. No. 21-03003-sgj
Dondero,
      Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0539-3                                                   User: mmathews                                                              Page 1 of 2
Date Rcvd: Apr 09, 2021                                                Form ID: pdf012                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                 Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                  regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Apr 11, 2021:
Recip ID                 Recipient Name and Address
clmagt                 + Kurtzman Carson Consultants LLC, Attn: Drake Foster, 222 N. Pacific Coast Highway, Ste. 300, El Segundo, CA 90245-5614

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Apr 11, 2021                                            Signature:            /s/Joseph Speetjens




                                   CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on April 9, 2021 at the address(es) listed below:
Name                               Email Address
Bryan C. Assink
                                   on behalf of Defendant James Dondero bryan.assink@bondsellis.com

Juliana Hoffman
                                   on behalf of Creditor Committee Official Committee of Unsecured Creditors jhoffman@sidley.com
                                   txefilingnotice@sidley.com;julianna-hoffman-8287@ecf.pacerpro.com

Matthew A. Clemente
                                   on behalf of Creditor Committee Official Committee of Unsecured Creditors mclemente@sidley.com
                                   matthew-clemente-8764@ecf.pacerpro.com;efilingnotice@sidley.com;ebromagen@sidley.com;alyssa.russell@sidley.com;dtwom
                                   ey@sidley.com

Paige Holden Montgomery
                                   on behalf of Creditor Committee Official Committee of Unsecured Creditors pmontgomery@sidley.com
                                   txefilingnotice@sidley.com;paige-montgomery-7756@ecf.pacerpro.com;crognes@sidley.com;ebromagen@sidley.com;efilingnoti
                                   ce@sidley.com
           Case 21-03003-sgj Doc 19 Filed 04/11/21                      Entered 04/11/21 23:23:51            Page 6 of 6
District/off: 0539-3                                      User: mmathews                                            Page 2 of 2
Date Rcvd: Apr 09, 2021                                   Form ID: pdf012                                          Total Noticed: 1
Zachery Z. Annable
                          on behalf of Plaintiff Highland Capital Management L.P. zannable@haywardfirm.com


TOTAL: 5
